                         Case 17-23083-LMI              Doc 16       Filed 12/13/17         Page 1 of 1


RE: _______________________________
    Mary Catherine Arroyo                                     PRO
                                                               _       SE                  Case # ____________________
                                                                                                    17-23083 LMI
        TRUSTEE’S NOTICE OF DEFICIENCY FOR CONFIRMATION AND RECOMMENDATION (Pre 341)
The Trustee reviewed this case for confirmation and found the following deficiencies from the Trustee’s letter requesting
documents and prior deficiencies and thus objects as follows:
 ✔ Tax returns: 2015-2016
                2012 2013 2014 Corp 2012 2013 2014                ___ ✔ Photo ID(s) ✔ LF 90                 LF67       LF10
 ✔ Bank Account Statements ✔ 3 months pre-petition                ___ Domestic Support Info: name address and phone
   _______________________________________________                    Affidavit
                                                                      AffidavitsofofSupport
   _______________________________________________                ___ 2016(B)         401K/Retirement Stmts        Life Ins Policy
   _______________________________________________                ✔
                                                                  ___ Other provisions Income Verification Language
__ Check copy _____________________________________
_________________________________________________                 ✔ Plan does not fund (1-36)
                                                                  ___
__ Explain W/D ____________________________________               ___Calculation errors/improper months _________________
   FMV(NADA/Carmax), Reg and Payoff:Vehicles________              ___Valuation motion has  G not
                                                                                               notbeen      G not resolved
                                                                                                   filedfiled
__________________________________________________                ___ MMM motion not filed
   FMV and Payoff: Real Estate________________________            ✔ Reaffirm, redeem or surrender Sch D & G creditor ABC
                                                                  ___
__________________________________________________                ___ Creditor on plan not listed in Schedules or no filed POC
__ Non homestead Information Sheet                                    Priority debt
                                                                  ___ Priority debt on
                                                                                     on Sch
                                                                                        Sch EE not
                                                                                               not in
                                                                                                    in plan
                                                                                                       plan
   Wage deduction order or motion to waive                        ___ Object or Conform to Proof of Claim
BUSINESS DEBTOR DOCUMENTS                                             ___Miami-Dade County            ___Tax Certificate(DE#___)
✔ BDQ & attachments ✔ Profit & Loss ✔ Balance Sheet                   ___Dept of Revenue              ___ IRS
✔ Bank statements and checks ✔  s 3 months ______________ __________________________________________________
__________________________________________________                Section III. A.- Missing account number
                                                                  _________________________________________________-
__________________________________________________                ___Motion
                                                                  ✔           tDeviate
                                                                     Other: Plan  Base from
                                                                                        underMMM
                                                                                               minimum GOther_________________
                                                                                                           amount of $55
                                                                      -Princetonian by the Park HOA twice on plan

                                      12/7/2017
Reviewed documents received prior to ____________________________
(Do not "resend" late documents without first calling the Trustee's office)

Trustee reserves the right to raise additional objects until all requested documents are timely provided. This deficiency is limited
to missing documents only. The Trustee will file a Notice of Deficiency with additional document requested and legal issues
raised after the 341 - meeting of creditors.

NOTICE: Each debtor(s) is required to appear at the meeting of creditors with an original social security
card and government issued photographic identification card. Each debtor must complete a written
questionnaire prior to the meeting of creditors which will become part of their testimony. This
questionnaire must be handed to the Trustee or her staff attorney prior to the commencement of the
meeting. In addition, debtors are cautioned to bring evidence that they have made all payments due under
the proposed plan to the meeting of creditors.

Request for continuance must be directed to the Trustee and are only for emergencies. LR 2003-1. The party
requesting the continuance has the burden to notice to all creditors. LR 2002-1(C)(3) Failure to appear may result in a
dismissal order (see notice of commencement).

         I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor’s attorney or by U.S.
First Class pre-paid Mail on the pro se debtor on the same day filed with the Court.
                                               Submitted by
                                      NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE
                                      P.O. BOX 279806,
                                      MIRAMAR, FL 33027
                                      (954) 443-4402

*DOCUMENTS MUST BE RECEIVED OR FILED AND ISSUES ADDRESSED AT LEAST FOURTEEN DAYS PRIOR TO
EACH CONFIRMATION HEARING TO AVOID DISMISSAL*
